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Exhibit 6
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The Honourable Christopher F. Dronay, Seafield House,
United States District Court Three Mile Water
Abraham Ribicoff Federal Building Wicklow,

450 Main Street, Suite 228, iretand

Hartford, CT 06103

April Sth. 2009
Re. United States v. John Houldsworth

Dear Judge Droney,

We are writing to you in this matter as friends of John Houldsworth and are submitting this letter on his behalf
in connection with the Court's determination of his sentence.

Simon is a Dental Surgeon of nearly thirty years standing and we have been married for twenty two years.
We have two children; a son at university and a daughter aged sixteen who is in school. We are regular
churchgoers and often encountered John at church on a Sunday when we lived in the same area. We moved
to Ireland from Oxford, England aimost six years ago and John and Ruth were amongst the first of those who.
were to become our friends; we met as a consequence of having children at the same school. We were
immediately struck by John's integrity and sincerity and in all the time that we have known him we have never
heard John say 4 bad word about anyone. He is truly one of the most genuine and honest people we have
ever met and gives many hours of his time to coach schoo! and community Junior football and hockey teams.

John and Ruth have three lovely children and an incredibly strong and solid marriage. At no time has Ruth's
trust in her husband wavered and if you knew John you would understand why. We also know that John is
the type of person who would never knowingly do anything dishonest or underhand. John is completely open-
minded and fair and we know that if he has made mistakes he would acknowledge the situation and learn
from it.

Our families see each other socially, spend every New Year's Eve together and every year holiday together

in the West of Ireland. John is definitely the most proactive of us ail; he is the first to organise the children into
activities and throws all his energy into ensuring that everyone has a good time. One year two of the boys
were very keen to go night fishing and although it was cold and pouring with rain John insisted on
accompanying them for their own safety. About three years ago we were living in the Wickiow mountains and
suffered a snowfall so heavy that we were unable to travel. John battled through the heavy snow drifts in his
jeep te collect our daughter so that she could take part in an important hockey game- that's the sort of person
he is.

It would be hard to imagine the terrible effect a prison sentence would have on John, Ruth and their three
children. They are a close and loving family and being separated in this way would have a iasting and
traumatic effect on therm all. John Houldsworth is one of the kindest and most honourable men we have ever
met and in our opinion he deserves the utmost leniency in sentencing.

Thank you for your patience in taking the time to read this letter.

Yours sincerely,

Sq Cae, hole.

Simon and Mel Carlyle.
